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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON - :
SEPTEMBER 11, 2001 : 03-MDL-1570 (GBD)(SN)

This Document Relates To:

Katherine Maher, Individually as Spouse and as Personal Representative of the Estate of Daniel
L. Maher, deceased; Daniel R. Maher, Individually and as Surviving Child of Daniel L. Maher,
deceased; and Joseph F. Maher, individually and as Surviving Child of Daniel L. Maher,
deceased only in the cases of Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-
6977 (GBD)(SN); Bauer, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-7236
(GBD)(SN); and Ashton, et al. v. Kingdom of Saudi Arabia, Case No.: 17-cv-02003 (GBD)(SN)

MOTION TO SUBSTITUTE COUNSEL

COME NOW, Katherine Maher, individually as spouse and as Personal Representative of
the Estate of Daniel L. Maher, deceased; Daniel R. Maher, individually as surviving child of Daniel
L. Maher, deceased; and Joseph F. Maher, individually as surviving child of Daniel L. Maher,
deceased (“the Maher Plaintiffs”) Plaintiffs in Ashton, et al. v. al Qaeda Islamic Army, et al., Case
No. 02-cv-6977 (GBD)(SN); Bauer, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-7236
(GBD)(SN); and Ashton, et al. v. Kingdom of Saudi Arabia, Case No.: 17-cv-02003 (GBD)(SN),
and file this Motion to Substitute Counsel. As grounds for said Motion, the Maher Plaintiffs state
as follows:

1. The Maher Plaintiffs were represented by Thea Capone and Michel F. Baumeister
of Baumeister & Samuels, P.C. (“Baumeister & Samuels’). On March 22, 2019, by email,
Baumeister & Samuels informed the Maher Plaintiffs that they should seek new counsel.

2. The Maher Plaintiffs have retained Dennis G. Pantazis of Wiggins Childs Pantazis

Fisher Goldfarb LLC to represent them in this matter.
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3. The Maher Plaintiffs request the Court to substitute Dennis G. Pantazis as attorney
of record as to the Maher Plaintiffs only.

4, The Maher Plaintiffs and Dennis G. Pantazis consent to the substitution of counsel
as requested herein (signed Consents attached hereto as Exhibit A).

5. The parties anticipate after substitution of counsel is granted, they will move the
Court to separate the Maher Plaintiffs into a separate case.

WHEREFORE, PREMISES CONSIDERED, Katherine Maher, individually as spouse
and as Personal Representative of the Estate of Daniel L. Maher, deceased; Daniel R. Maher,
individually as surviving child of Daniel L. Maher, deceased; and Joseph F. Maher, individually
as surviving child of Daniel L. Maher, deceased, pray that this Honorable Court enter an Order
substituting Dennis G. Pantazis of Wiggins Childs Pantazis Fisher Goldfarb LLC as attorney of
record for the Maher Plaintiffs only in Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 02-
cv-6977 (GBD)\(SN); Bauer, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-7236
(GBD)(SN); and Ashton, et al. v. Kingdom of Saudi Arabia, Case No.: 17-cv-02003 (GBD)(SN).

RESPECTFULLY SUBMITTED,

/s/ Dennis G. Pantazis
Dennis G. Pantazis

OF COUNSEL:

WIGGINS CHILDS PANTAZIS
FISHER GOLDFARB LLC

The Kress Building

301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205) 314-0731
Email: dgp@wigginschilds.com
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EXHIBIT A
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON
SEPTEMBER 11, 2001 03-MDL-1570 (GBD)(SN)

This Document Relates To:

Katherine Maher, Individually as Spouse and as Personal Representative of the Estate of
Daniel L, Maher, Deceased only in the cases of Ashton, et al. v. al Qaeda Islamic Araty, et al,,
Case No,; 02-cv-06977 (GBD) (SN); Bauer, et al. v.. al Qaeda Islamic Army, et al., Case No.
02-cv-07236 (GBD) (SN); and Ashton, et al. v. Kingdom of Saudi Arabia, et al,

Case-No.: 17-cv-02003 (GBD) (SN)

CONSENT ORDER GRANTING SUBSTITUTION OF ATTORNEY
Notice is hereby given that, subject to approval by the Court, Katherine Maher,
individually as spouse and as Persona) Representative of the Estate of Daniel L. Maher,
deceased, substitutes Dennis G. Pantazis of Wiggins Childs Pantazis Fisher Goldfarb LLC, as
counsel of record in place of Thea M. Capone of Baumeister & Samuels, P.C.
Contact information for new counsel, Dennis G. Pantazis, is as follows:
Wiggins Childs Pantazis Fisher Goldfarb LLC
The Kress Building
301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531

Facsimile: (205) 314-073 1
Email: dgp@wigginschilds.com

1, Katherine Maher, individually as spouse and as Personal Representative of the

Date: ola lt
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Katherine ae 1, Tadividually as Spouse
and as Personat Representative of the Estate
of Daniel L. Maher, deceased

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I, Dennis G. Pantazis, hereby consent to the above substitution of counsel as to plaintiffs

Katherine Maher, individually as spouse and,as Personal

cp esentative of the Estate of

Daniel L. Mahe) , deceased.

Denis G. Pantazis #
WIGGINS CHILDS PANTAZIS
FISHER GOLDFARB LLC

The Kress Building

301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205) 314-0731
Email: dgp@wigginschilds.com

Date: [Qo jie

The substitution of attorney as to plaintiffs Katherine Maher, individually as spouse and
as Personal Representative of the Estate of Daniel L. Maher, deceased is hereby approved and

so ORDERED.

_ Date:

UNITED STATES DISTRICT JUDGE

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE; TERRORIST ATTACKS ON _ :
SEPTEMBER 11, 2001 : 03-MDL-1570 (GBD)(SN)

This Document Relates To:

Daniel R. Maher, Individually as Surviving Child of Daniel L. Maher, Deceased only in the
cases of Ashton, et al. v. al Qaeda Islamic Army, et al., Case No.: 02-cv-06977 (GBD) (SN);
Bauer, et al. v. al Qaeda Islamic Army, et al, Case No.: 02-cv-07236 (GBD) (SN); and
Ashton, et al. vy. Kingdom of Saudi Arabia, et al, Case No.: 17-cv-02003 (GBD) (SN)

CONSENT ORDER GRANTING SUBSTITUTION OF ATTORNEY

Notice is hereby given that, subject to approval by the Court, Daniel R. Maher,
individually as surviving child of Daniel L. Maher, deceased, substitutes Dennis G. Pantazis of
Wiggins Childs Pantazis Fisher Goldfarb LLC, as counsel of record in place of Thea M. Capone
of Baumeister & Samuels, P.C.

Contact information for new counsel, Dennis G, Pantazis, is as follows:

Wiggins Childs Pantazis Fisher Goldfarb LLC
The Kress Building

301 Nineteenth Street North

Birmingham, Alabama 35203

Telephone: (205) 314-0531

Facsimile: (205) 314-0731
Email: dgp@wigginschilds.com

I, Daniel R, Maher, individually as surviving child of Daniel L. Maher, deceased,

Daniel R. Maher, Individually as Surviving
Child of Daniel L. Maher, deceased

hereby consent to the above substitution of counsel,

Date: i AGlG

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I, Dennis G. Pantazis, hereby consent to the above substitution of counsel as to plaintiff

Daniel R. Maher, individually as surviving ¢

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Date: G } 20 | Ly Y }
ennis “GPa Pantaz
sake iS

WIGGINS CHILDS PANT.
FISHER GOLDFARB LLC -
The Kress Building

301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205) 314-0731
Email: dgp@wigginschilds.com

The substitution of attorney as to plaintiff Daniel R. Maher, individually as surviving

child of Daniel L. Maher, deceased is hereby approved and so ORDERED.

Date:

UNITED STATES DISTRICT JUDGE

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON
SEPTEMBER 11, 2001 : 03-MDL-1570 (GBD)(SN)

This Document Relates To:

Joseph F. Maher, Individually as Surviving Child of Daniel L. Maher, Deceased only in the
cases of Ashton, et al. v. al Qaeda Islamic Army, et al, Case No.: 02-cv-06977 (GBD) (SN);
Bauer, et al. v. al Qaeda Islamic Army, et al., Case No.: 02-cv-07236 (GBD) (SN); and
Ashton, et al. v. Kingdom of Saudi Arabia, et al., Case No.: 17-cv-02003 (GBD) (SN)

CONSENT ORDER GRANTING SUBSTITUTION OF ATTORNEY
Notice is hereby given. that, subject to approval by the Court, Joseph F. Maher,
individually as surviving child of Daniel L. Maher, deceased, substitutes Dennis G. Pantazis of
Wiggins Childs Pantazis Fisher Goldfarb LLC, as counsel of record in place of Thea M. Capone

of Baumeister & Samuels, P.C.

Contact information for new counsel, Dennis G. Pantazis, is as follows:

Wiggins Childs Pantazis Fisher Goldfarb LLC
The Kress Building
301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205) 314-0731
Email: dgp@wigginschilds.com

I, Joseph F. Maher, individually as surviving child of Daniel L. Maher, deceased,

hereby consent to the above substitution of counsel.

Date: 9-72-14 Llaygl. Wes
Jogéph F. Maher, Individually as Surviving

ild of Daniel L. Maher, deceased

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I, Dennis G. Pantazis, hereby consent ta the above substitution of counsel as to plaintiff

Joseph F. Maher, individually as surviving ¢ of Daniel L.

Date: alo lg
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her, deceased.

AA a7
Dennis G. Pantazis |
WIGGINS CHILDS PANTAZIS
FISHER GOLDFARB LLC
The Kress Building
301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205).314-073 1
Email: dgp@wigginschilds.com

The substitution of attorney as to plaintiff Joseph F. Maher, individually as surviving —

child of Daniel L. Maher, deceased is hereby approved and so ORDERED.

Date:

UNITED STATES DISTRICT JUDGE

